                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO: 3:18-cv-00535-MOC-DCK


PATRICK UDOEWA,                                       )
On Behalf of Himself and                              )
Others Similarly Situated                             )
                                                      )
                       Plaintiffs,                    )
                                                      )                      ORDER
               vs.                                    )
                                                      )
ETTAIN GROUP, INC.,                                   )
                                                      )
                       Defendant.                     )


       THIS MATTER is before the Court on the parties’ Joint Motion to Approve Notice of

Collective Action Settlement. (Doc. No. 29). As the parties explain, this Court entered a prior

order approving their motion for settlement on October 8, 2019. (Doc. No. 28). The parties have

since then discovered that they had submitted to the Court an older version of the Notice of

Collective Action Settlement that did not include all of the parties’ agreed-upon language. In

bringing this second motion, the parties have now submitted the correct, and agreed-upon Notice

of Collective Action Settlement, and they again seek an order from the Court approving the Notice

of Collective Action Settlement.

       Having considered the Motion, the Proposed Settlement Agreement and Release (Doc. No.

29-1), and accompanying documents, the Court finds that the settlement reached in this matter is

a fair and reasonable resolution to a bona fide dispute and provides an adequate basis for Plaintiffs

to waive their substantive and prescriptive rights under applicable law. Accordingly, the Court

enters the following Order.

                                             ORDER


                                                 1

      Case 3:18-cv-00535-MOC-DCK Document 30 Filed 10/31/19 Page 1 of 3
IT IS, THEREFORE, ORDERED as follows:

(1) The parties’ Joint Motion to Approve Notice of Collective Action (Doc. No.

   29) is APPROVED, including the payments to Settlement Collective

   Members, the releases of claims, the service payment to Named Plaintiff, and

   payment of attorneys’ fees and costs as set forth therein.

(2) The Settlement Collective is CERTIFIED pursuant to 29 U.S.C. § 216(b) for

   the sole purpose of settlement.

(3) This action is DISMISSED WITH PREJUDICE in its entirety in full and final

   discharge of any and all Participating Collective Members’ Released Claims.

(4) The Court APPROVES the requested Service Award, Attorneys’ Fee Award,

   and costs to Class Counsel, as well as the designation of the Settlement

   Administrator and approval of Settlement Administrator fees.

(5) The Court APPROVES the proposed form of the Settlement Notice and

   method of distribution as the best notice practicable under the circumstances.

(6) The Court APPROVES the Parties’ request that the docket remain open so that

   a Check Opt-in Form may be filed on the docket by Class Counsel on behalf of

   each Participating Collective Member, and further APPROVES the Parties’

   proposed method of filing Check Opt-in Forms with the Court as fair,

   reasonable and sufficient to constitute a consent to join the Lawsuit, as required

   by 29 U.S.C. § 216(b), on behalf of each Participating Collective Member.

(7) The Court DIRECTS that the Gross Settlement Amount be distributed in

   accordance with the terms of this Settlement Agreement.

(8) The Court retains jurisdiction to interpret, implement, and enforce the terms of



                                         2

Case 3:18-cv-00535-MOC-DCK Document 30 Filed 10/31/19 Page 2 of 3
          the Settlement Agreement and all orders and judgments entered in connection

          therewith.

Signed: October 31, 2019




                                             3

     Case 3:18-cv-00535-MOC-DCK Document 30 Filed 10/31/19 Page 3 of 3
